
THREADGILL, Judge.
Sam Sadler appeals the trial court’s summary denial of his motion for postcon-viction relief filed pursuant to Florida Rule of Criminal Procedure 3.850. We treat Sadler’s motion as a petition for writ of habeas corpus seeking leave to file a belated postconviction motion and reverse. On remand the trial court shall conduct an evidentiary hearing to determine whether Sadler retained counsel to timely file a rule 3.850 motion and whether counsel failed to timely file such a motion. See Steele v. Kehoe, 747 So.2d 931 (Fla.1999).
Reversed and remanded.
BLUE, C.J., and DAVIS, J., Concur.
